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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT
for the

Southern District of Georgia

RUTHIE LEE — )
Plaintiff )
V. ) Case No. 2:19-CV-00140
______ SELECT PORTFOLIO SERVICING, INC. )
Defendant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

The Plaintiff

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